Case 4:23-cv-00362 Document 1 Filed on 01/27/23 in TXSD Page 1 of 7




                                                         United States Courts Southern
                                                                District of Texas
                                                                       FILED
                                                              January 27, 2023
                                                        Nathan Ochsner, Clerk of Court
Case 4:23-cv-00362 Document 1 Filed on 01/27/23 in TXSD Page 2 of 7
Case 4:23-cv-00362 Document 1 Filed on 01/27/23 in TXSD Page 3 of 7
Case 4:23-cv-00362 Document 1 Filed on 01/27/23 in TXSD Page 4 of 7
Case 4:23-cv-00362 Document 1 Filed on 01/27/23 in TXSD Page 5 of 7
Case 4:23-cv-00362 Document 1 Filed on 01/27/23 in TXSD Page 6 of 7
Case 4:23-cv-00362 Document 1 Filed on 01/27/23 in TXSD Page 7 of 7
